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                     EXHIBIT E
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                                                                          Page 1


                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK

                   CASE NO. 15-CV-07433-RWS


------------------------------------------x
VIRGINIA L. GIUFFRE,


                                Plaintiff,
v.
GHISLAINE MAXWELL,
                                Defendant.


-------------------------------------------x


                                June 1, 2016
                                9:12 a.m.

                   C O N F I D E N T I A L
        Deposition of JOHN ALESSI, pursuant
        to notice, taken by Plaintiff, at the
        offices of Boies Schiller & Flexner, 401
        Las Olas Boulevard, Fort Lauderdale, Florida,
        before Kelli Ann Willis, a Registered
        Professional Reporter, Certified Realtime
        Reporter and Notary Public within and
        for the State of Florida.
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 1                                JOHN ALESSI
 2    at 358 El Brillo Way; is that correct?
 3          A.     Yes.
 4          Q.     Now, when counsel for the Plaintiff was
 5    asking you questions, he kept referring to females
 6    as girls, okay?
 7          A.     Yes.
 8          Q.     So is it fair to say that other than
 9             , you understood at the time that any of the
10    massage therapists that were being -- giving
11    massages at 358 El Brillo Way were over the age of
12    18; is that correct?
13                 MR. EDWARDS:     Objection, argumentative,
14          counsel testifying.
15                 THE WITNESS:     Most of them.
16    BY MR. PAGLIUSCA:
17          Q.     Okay.   And you talked a little bit about
18    paying for massages.        Now, as I understand it,
19    people who were getting massages at 358 El Brillo
20    Way were paid $100 per massage; is that right?
21          A.     That was -- everybody got $100 an hour.
22          Q.     Okay.   And you never paid more than $100
23    to anyone who gave a massage, correct?
24          A.     Not for one, but I paid more if they were
25    four massages; I would pay $400, $500.
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 1                                JOHN ALESSI
 2    his equipment for yoga and exercising there.              They
 3    have a treadmill, exercise equipment.            They have a
 4    bathroom.     And there was the pool.
 5                 And behind the pool was the lake, the
 6    Intracoastal lake, and we had a boat, a couple -- we
 7    had -- at one time we had those jet -- jet flows.
 8          Q.     Jet skis?
 9          A.     Jet skis.     We had a couple of those.           And
10    that was it.
11          Q.     Was the pool private?
12          A.     Very much, yeah.      It was no access to the
13    street.    There was no access -- no view from any
14    neighbors or anything like that.
15          Q.     Okay.   You were asked some questions by
16    Mr. Edwards about                      ; is that right?
17          A.     Yes.
18          Q.     To your knowledge, she was the only person
19    at El Brillo that was under the age of 18?
20          A.     To my knowledge, yes.
21          Q.     Okay.   And you recall seeing her with her
22    mother at the house, correct?
23          A.     The first couple of times, after, she came
24    with her mother.
25          Q.     And you don't ever recall her spending the
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 1                                JOHN ALESSI
 2    person; I recommend her to you?
 3          A.     Yes, he would give to me the number.
 4          Q.     And most of the people, I take it, were
 5    from these spas or clubs; is that right?             Most of
 6    the massage people?
 7          A.     Yes.
 8          Q.     And do you know, did they have what I'll
 9    call regular day jobs at the spas, and then they
10    would come into Mr. Epstein's after?
11                 MR. EDWARDS:     Objection, speculation.
12                 THE WITNESS:     I think so.
13    BY MR. PAGLIUSCA:
14          Q.     Okay.   And why do you think so?
15          A.     Because they were working at the Breakers,
16    and sometimes I have to get in touch with these
17    people.     I used to call -- have to call the Breakers
18    or the Mar-a-Lago or the -- all the clubs.              There be
19    clubs, even in Boca Raton, the Boca Raton Resort and
20    Hotel.     They have a great spa.        I had to call these
21    people, Can you come in at 10:00 tonight?
22          Q.     You would know they were working there
23    because you would talk to them there?
24          A.     Yes.
25          Q.     I'm going to have you take a look at
